USCA4 Appeal: 23-1854                Doc: 48              Filed: 03/19/2024             Pg: 1 of 1
                                FOURTH CIRCUIT ORAL ARGUMENT ACKNOWLEDGMENT

  This Oral Argument Acknowledgment form is to be completed and filed by arguing counsel within 7 days of
  the Oral Argument Notification. In criminal cases, counsel appearing for a defendant but not arguing must also
  file this form.
  Case Number: 23-1854                                    Date of Oral Argument: 05/09/24
  Caption: D.C. v. Fairfax County School Board
  Attorney Arguing: William R.H. Merrill
  Arguing on Behalf of (party name): D.C., by his parents and guardians, Trevor Chaplick and Vivian Chaplick; Trevor Chaplick; Vivian
  Chaplick; M.B., by his parents and guardians, James Bingham and Shelia Bingham; James Bingham, Shelia Bingham; Hear our Voices, Inc.

  Select party type:
   ✔ Appellant      Appellee            Appellant/Cross-Appellee             Appellee/Cross-Appellant             Amicus         Intervenor

  Attorney Appearing for Defendant but Not Arguing in Consolidated Criminal Case:

  Argument Time: Please indicate how much argument time you wish to use. You may thereafter change your
  requested time or change counsel arguing by filing a new Oral argument acknowledgment form and selecting
  “Amended” within the entry. Counsel arguing the case must be admitted to the Fourth Circuit, file an
  appearance of counsel form, and file this acknowledgment form.
     ĺPLQXWHVRIDUJXPHQWWLPHDUHDOORWWHGSHUVLGHDOOSDUWLHVWRDVLGHPXVWVKDUHRUDODUJXPHQWWLPH
     ĺUDWKHUWKDQPLQXWHVDUHDOORWWHGLQVRFLDOVHFXULW\EODFNOXQJ ODERUFDVHVLQZKLFKSULPDU\LVVue
        is whether substantial evidence supports agency decision, and in criminal cases in which primary issue is
        DSSOLFDWLRQRIVHQWHQFLQJJXLGHOLQHVPLQXWHVDUHDOORWWHGLQHQEDQFFDVHV
     ĺ$SSHOODQWVDQGFURVV-DSSHOODQWVPD\UHVHUYHXSWRRIWKHLUWLme for rebuttal (7 out of 20 minutes)

  First Attorney Arguing Per Side: William R.H. Merrill
  Phone Number (day of argument): 832-613-7370

  Principal Argument Time:       14                                               Rebuttal Argument Time (if any):       6
  (for appellants and appellees)                                                  (appellants and cross-appellants only)

  Any Second Attorney Sharing Arguing Time:
  Phone Number (day of argument):

  Principal Argument Time:                                                        Rebuttal Argument Time (if any):
  (for appellants and appellees)                                                 (appellants and cross-appellants only)

  Any Counsel for Amicus Participating in Argument by Leave of Court:

  Phone Number (day of argument):

  Argument Time:                                          Select one of the following:            Order allowing argument time
                                                                                                  Court-Appointed Amicus


  Signature: /s/ William R. H. Merrill                                       Date: 03/19/24




  03/08/2022 SCC
